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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 21-MJ-718 (DTS)

 UNITED STATES OF AMERICA,                  )
                                            )
                       Plaintiff,           )
                                            )
        v.                                  )
                                                 ORDER OF DETENTION
                                            )
 JERMAINE DONTAE MORRIS,                    )
                                            )
                       Defendant,           )
                                            )

       This matter came before the Court on October 6, 2021, for a preliminary hearing

and upon the motion of the United States for an Order of Detention. The Defendant was

present and represented by his attorney, Assistant Federal Defender Keala Ede. The United

States was represented by Assistant United States Attorney Justin A. Wesley.

       Defendant Jermaine Dontae Morris is charged by Complaint with one count of felon

in possession of a firearm. A preliminary hearing was held October 6, 2021, at which time

the Court concluded that probable cause exists to believe the Defendant committed the

offense charged.

       The Defendant then waived his right to a detention hearing, but reserved his right to

raise detention at a later date.

       Before the hearing, pre-trial services interviewed the Defendant and issued a report

recommending detention, finding that the Defendant presented a risk of non-appearance

and a danger to the community. The Court concludes that based on the Defendant’s waiver,

as well as the pre-trial services bond report, there has been a clear and convincing showing
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that no condition or combination of conditions of bond will reasonably ensure the safety

of the community and a preponderance of the evidence demonstrating that releasing the

Defendant will create a serious risk of his nonappearance. Accordingly, the Court will

grant the Government's motion for Detention.

                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. The

Court finds that detention is justified in order to ensure the safety of the community and

prevent a serious risk of flight.

       The preliminary hearing established probable cause to believe that the Defendant

committed the offense charged in the complaint. According to the bond report prepared by

the office of probation and pretrial services, the Defendant has a lengthy history with the

criminal justice system and poses a risk of nonappearance. The Defendant’s convictions

include serious felonies such as armed violence, mob action, armed robbery, possession of

a controlled substance with intent to deliver, possession of a firearm. The Defendant also

has pending cases in other jurisdictions, at least one of which where he failed to appear and

a warrant issued for his arrest.

                                      CONCLUSION

       Based upon the evidence presented, the Court concludes that detention is

appropriate. Accordingly,

       IT IS HEREBY ORDERED that:

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       1.       The motion of the United States for detention of the Defendant is granted;

       2.       The Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.       The Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       4.       Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the Defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: October 7, 2021                      s/ David T. Schultz
                                            The Honorable David T. Schultz
                                            United States Magistrate Judge




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